Case 2:22-cr-20068-LVP-KGA ECF No. 38, PageID.235 Filed 07/18/23 Page 1 of 8




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,
                                             Criminal Case No. 22-20068
v.                                           Honorable Linda V. Parker

JAMARRIO DOBBS,

          Defendant.
_______________________________/

     OPINION AND ORDER DENYING DEFENDANT’S MOTION TO
                    DISMISS (ECF NO. 26)

      Defendant Jamarrio Dobbs has been charged with one count of Felon in

Possession of a Firearm in violation of 18 U.S.C. § 922(g)(1). Mr. Dobbs moves

to dismiss the indictment arguing that his felon in possession charge violates the

Second Amendment of the United States Constitution. The matter is presently

before the Court on Mr. Dobbs’ Motion to Dismiss. (ECF No. 26.) The motion is

fully briefed. (ECF Nos. 32, 35, 37.) Finding the facts and legal arguments

sufficiently presented by the parties, the Court is dispensing with oral argument

with respect to the parties’ motions pursuant to Eastern District of Michigan Local

Rule 7.1(f). For the reasons that follow, the Court is denying Mr. Dobbs’ motion.

      In his motion, Mr. Dobbs argues that § 922(g)(1) is facially unconstitutional

in light of the Supreme Court’s holding in New York State Rifle & Pistol
Case 2:22-cr-20068-LVP-KGA ECF No. 38, PageID.236 Filed 07/18/23 Page 2 of 8




Association, Inc. v. Bruen, -- U.S. --, 142 S. Ct. 2111 (2022). Specifically, Mr.

Dobbs maintains that possession of a firearm comes within the Second

Amendment’s “plain text” and, therefore, his conduct is presumptively protected.

Mr. Dobbs also maintains that the Government is unable to establish a historical

tradition of felon-disarmament laws.

      The Second Amendment reads: “A well regulated Militia, being necessary to

the security of a free State, the right of the people to keep and bear Arms, shall not

be infringed.” U.S. Const. amend. II. In Bruen, the Supreme Court set forth a two-

step approach for assessing the constitutionality of a firearms regulation. First,

“[w]hen the Second Amendment’s plain text covers an individual’s conduct, the

Constitution presumptively protects that conduct.” Id. at 2129–30. Second, when

a regulation burdens such presumptively protected conduct, “[t]he government

must then justify its regulation by demonstrating that it is consistent with the

Nation’s historical tradition of firearm regulation.” Id. at 2130.

                         Second Amendment’s Plain Text

       First, Mr. Dobbs argues that the plain text of the Second Amendment covers

his conduct, namely that he—despite being a felon—is considered a part of “the

people” within the meaning of the Second Amendment. (ECF No. 26 at Pg ID

142.) This Court agrees.




                                          2
Case 2:22-cr-20068-LVP-KGA ECF No. 38, PageID.237 Filed 07/18/23 Page 3 of 8




      As the Supreme Court stated in District of Columbia v. Heller, “the people”

as used throughout the United States Constitution “unambiguously refers to all

members of the political community, not an unspecified subset.” 554 U.S. at 580

(emphasis added); see also United States v. Verdugo-Urquidez, 494 U.S. 259, 265

(1990) (explaining that “ ‘the people’ . . . refers to a class of persons who are part

of a national community or who have otherwise developed sufficient connection

with this country to be considered part of that community”). The Heller Court

therefore said that there is “a strong presumption that the Second Amendment

right . . . belongs to all Americans.” Id. at 581.

      The Heller Court did state, as well, that “[t]he Second Amendment does not

protect those weapons not typically possessed by law-abiding citizens for lawful

purposes . . . .” Id. at 625 (emphasis added). The Third Circuit Court of Appeals

recently discussed in Range v. Attorney General United States of America, 69 F.4th

96 (2023) (en banc), that an interpretation that felons—by definition are not “law-

abiding citizens”—are also not considered “the people” referred to in the Second

Amendment, ignores other language in Heller, the reference to “the people” in

other constitutional provisions, and that the phrase “law-abiding citizens” is

“hopelessly vague.” Id. at 101–02. Thus, this Court concludes that not only “law-

abiding citizens” are among “the people” protected by the Second Amendment.




                                           3
Case 2:22-cr-20068-LVP-KGA ECF No. 38, PageID.238 Filed 07/18/23 Page 4 of 8




Despite being a felon, the Second Amendment’s plain text covers Mr. Dobbs’

conduct. 1

               § 922(g)(1) and This Nation’s Historical Traditions

      Under the Bruen framework, the Court must next determine whether the

Government has shown that applying § 922(g)(1) to Mr. Dobbs “is consistent with

the Nation’s historical tradition of firearm regulation.” 142 S. Ct. at 2130. On this

issue, Supreme Court and Sixth Circuit precedent is binding.

      In Heller, the Supreme Court made note of the “longstanding prohibitions on

the possession of firearms by felons.” 554 U.S. at 626. This point was reiterated

by a plurality of the Court in McDonald v. City of Chicago, 561 U.S. 742 (2010),

when the Court, incorporating the Second Amendment against the States, indicated

that “incorporation does not imperil every law regulating firearms” and reiterated

that Heller “did not cast doubt on such longstanding regulatory measures as

‘prohibition on the possession of firearms by felons and the mentally ill.’” Id. at

786 (quoting Heller, 554 U.S. at 626–27). Subsequent to the Supreme Court’s

holding in Heller and before the Court’s subsequent decision in Bruen, every


1
  This Court previously relied on this italicized language to find that felons—by
definition are not “law-abiding citizens”—and as such, are not “the people”
referred to in the Second Amendment. See, e.g., United States v. Haywood, No.
22-cr-20417, 2023 WL 3669333, at *1 (E.D. Mich. May 25, 2023) (Parker, J.).
However, in light of Range, this Court recently changed its position. See, e.g.,
United States v. Holmes, 23-cr-20075 (E.D. Mich. July 12, 2023) (Parker, J.), ECF
No. 43.
                                           4
Case 2:22-cr-20068-LVP-KGA ECF No. 38, PageID.239 Filed 07/18/23 Page 5 of 8




federal court of appeals upheld the constitutionality of restrictions on the

possession of firearms by felons under § 922. See, e.g., United States v. Booker,

644 F.3d 12, 23–24 (1st Cir. 2011); United States v. Stuckey, 317 F. App’x 48, 50

(2d Cir. 2009); Folajtar v. Att’y Gen. of the United States, 980 F.3d 897, 900 (3d

Cir. 2020); United States v. Yates, 746 F. App’x 162, 164 (4th Cir. 2018); United

States v. Scroggins, 599 F.3d 433, 451 (5th Cir. 2010); United States v. Carey, 602

F.3d 738, 741 (6th Cir. 2010) (citing United States v. Frazier, 314 F. App’x 801,

807 (6th Cir. 2008)); United States v. Williams, 616 F.3d 685, 692 (7th Cir. 2010);

United States v. Joos, 638 F.3d 581, 586 (8th Cir. 2011); United States v. Vongxay,

594 F.3d 1111, 1114 (9th Cir. 2010); United States v. McCane, 573 F.3d 1037,

1047 (10th Cir. 2009); United States v. Rozier, 598 F.3d 768, 770 (11th Cir. 2010);

Medina v. Whitaker, 913 F.3d 152, 160 (D.C. Cir. 2019).

      Post-Bruen, the Third Circuit has modified its view, although several of the

concurring and dissenting judges found § 922(g)(1) “presumptively lawful” and

consistent with the Nation’s historical record, with the concurring judges

distinguishing the appellant’s prior conviction from the conduct of traditional

felons. See, Range, 69 F.4th at 110–12 (Ambro, Greenaway, Jr., Montgomery-

Reeves, J., concurring) (quoting Bruen, 142 S. Ct. at 626–27) (quoting Heller, 554

U.S. at 626–27); id. at 114-15 (Shwartz, Restrepo, J., dissenting); id. at 118

(Krause, J., dissenting). The Fifth Circuit also has found that § 922(g)’s

                                          5
Case 2:22-cr-20068-LVP-KGA ECF No. 38, PageID.240 Filed 07/18/23 Page 6 of 8




prohibition of firearm possession by someone subject to a domestic violence

restraining order issued after a civil proceeding, rather than a convicted felon, is

inconsistent with the historical tradition that delimits the outer bounds of the right

to keep and bear arms[.]” United States v. Rahimi, 61 F.4th 443, 454–55 (2023).

      The Eighth Circuit and perhaps Fifth Circuit, however, continue to find post-

Bruen that felony-firearm prohibitions are consistent with the history and tradition

of this Nation. United States v. Jackson, 69 F.4th 495, 501–02 (8th Cir. 2023);

United States v. Garza, No. 22-51021, 2023 WL 4044442, at *1 (5th Cir. June 15,

2023) (rejecting the defendant’s Second Amendment challenge to his conviction

under § 922(g)(1) under plain error review). In reaching its conclusion, the Eighth

Circuit rejected the notion of “felony-by-felony litigation regarding the

constitutionality of § 922(g)(1)”—meaning a case-by-case analysis of the history

of the right to keep and bear arms by individuals convicted of the same or similar

felonies as the defendant. Jackson, 69 F.4th at 501–02. While declining to decide

whether the history is that of disarming citizens “unwilling to obey the government

and its laws” or those deemed “more dangerous than a typical law-abiding

citizen[,]” the Eight Circuit concluded that “either reading supports the

constitutionality of § 922(g)(1) as applied to Jackson and other convicted felons,

because the law ‘is consistent with the Nation’s historical tradition of firearm

regulation.’ ” Id. at 502 (citations omitted).

                                           6
Case 2:22-cr-20068-LVP-KGA ECF No. 38, PageID.241 Filed 07/18/23 Page 7 of 8




      The Sixth Circuit has not addressed the constitutionality of § 922(g)(1) post-

Bruen. This Court is inclined to follow the Eighth Circuit in continuing to find the

statute constitutional as applied to the broad category of convicted felons given the

Bruen majority’s reaffirmation that the right to bear arms is “subject to certain

reasonable, well-defined restrictions.” 142 S. Ct. 2156. A majority of the justices

provided similar assurances. See id. at 2157 (Alito, J., concurring) (indicating that

the Court’s decision did not “disturb[] anything that [the Supreme Court] said in

Heller or McDonald v. Chicago, 561 U.S. 742 . . . (2020), about restrictions that

may be imposed on the possession or carrying of guns”); id. at 2162 (Kavanaugh,

J., concurring, joined by Roberts, C.J.) (restating statements from Heller and

McDonald indicating that history and tradition support prohibitions on the

possession of firearms by felons); id. at 2189 (Breyer, J., dissenting, joined by

Sotomayor and Kagan, JJ.) (same). Numerous judges in the Eastern District of

Michigan similarly have concluded that Bruen did not disturb Heller regarding the

constitutionality of prohibiting felons from possessing firearms.2 United States v.

Hazley, No. 22-cr-20612, 2023 WL 3261585 (E.D. Mich. May 4, 2023) (Parker,

J.); see also, e.g., United States v. Nelson, No. 22-cr-20512, 2023 WL 4249367

(E.D. Mich. June 29, 2023) (Berg, J.); United States v. Carter, No. 22-cr-20477,



2
 The government provides an extensive and non-exhaustive list of additional
district courts that support this position. (See App’x A, ECF No. 32-1 at 205–08.)
                                            7
Case 2:22-cr-20068-LVP-KGA ECF No. 38, PageID.242 Filed 07/18/23 Page 8 of 8




2023 WL 3319913 (E.D. Mich. May 9, 2023) (Roberts, J.); United States v. Bluer,

No. 22-cr-20557, 2023 WL 3309844 (E.D. Mich. May 8, 2023) (Michelson, J.);

United States v. Smith, No. 2:22-cr-20351, 2023 WL 2215779 (E.D. Mich. Feb. 24,

2023) (Goldsmith, J.); United States v. Burrell, No. 3:21-cr-20395, 2022 WL

4096865 (E.D. Mich. Sept. 7, 2022) (Cleland, J.).

      In light of this precedent, Mr. Dobbs fails to demonstrate that § 922(g)(1) is

unconstitutional, or that the Indictment should be dismissed.

      Accordingly,

      IT IS ORDERED that Defendant’s Motion to Dismiss (ECF No. 26) is

DENIED.

                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE
 Dated: July 18, 2023




                                         8
